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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

MANIKANTA PASULA, LIKHITH BABU
GORRELA, THANUJ KUMAR
GUMMADAVELLI, HANGRUI ZHANG,
and HAOYANG AN, on behalf of themselves
and all those similarly situated,
         Plaintiffs,
    v.

U.S. DEPARTMENT OF HOMELAND                          No. 1:25-cv-156
SECURITY;

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT;

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT, BOSTON FIELD
OFFICE;

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT, MANCHESTER SUB-
FIELD OFFICE;

KRISTI NOEM, Secretary of the
Department of Homeland Security;

TODD LYONS, Acting Director of the
Immigration and Customs Enforcement;
             Defendants.



                   [PROPOSED] ORDER GRANTING PLAINTIFFS’
                EXPEDITED MOTION FOR PRELIMINARY INJUNCTION

         After careful consideration of the parties’ submissions, the supporting declarations, the

applicable law, and the filings and record in this case, the Court GRANTS Plaintiffs’ Expedited

Motion for Preliminary Injunction.




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        The Court hereby finds that Plaintiffs and class members have demonstrated a likelihood

of success on the merits of their claim in Count 1 of the Complaint for Declaratory and Injunctive

Relief; that Plaintiffs and class members are likely to suffer irreparable harm if the order is not

granted; that the potential harm to Plaintiffs and class members if the order is not granted

outweighs the potential harm to Defendants if the order is granted; and that the issuance of this

order is in the public interest.

        Pursuant to Federal Rule of Civil Procedure 65(a), this Court orders that all Defendants:

            A. Reinstate the F-1 student status and corresponding SEVIS immigration record for
               all students at (and Optional Practical Training participants affiliated with) any
               educational institutions (including colleges and universities) in New Hampshire,
               Massachusetts, Maine, Rhode Island, and Puerto Rico who had their F-1 student
               status terminated and had their SEVIS immigration record correspondingly
               terminated by Defendants since March 1, 2025 where Defendants’ student status
               termination was neither (i) based on the criteria set forth in 8 C.F.R. § 214.1(d), (ii)
               because the student failed to maintain student status based on the criteria set forth
               in 8 C.F.R. § 214.1(e)-(g), nor (iii) because the student failed to make normal
               progress toward completing a course of study under 8 C.F.R § 214.2(f)(5)(i); and

            B. Are enjoined from, in the future, terminating the F-1 student status and
               corresponding SEVIS immigration record for all students at (and Optional Practical
               Training participants affiliated with) any educational institutions (including
               colleges and universities) in New Hampshire, Massachusetts, Maine, Rhode Island,
               and Puerto Rico where (i) the criteria set forth in 8 C.F.R. § 214.1(d) is not satisfied,
               (ii) the student has not failed to maintain student status based on the criteria set
               forth in 8 C.F.R. § 214.1(e)-(g), and (iii) the student has not failed to make normal
               progress toward completing a course of study under 8 C.F.R § 214.2(f)(5)(i).

        This Court further waives the requirement for security under Fed. R. Civ. P. 65(c).

        This preliminary injunction shall take effect immediately upon entry of this Order and shall

remain in effect by further order of the Court.

        It is so ordered.


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Date:                                                  United States District Judge




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